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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 IN RE: COVIDIEN HERNIA MESH
 PRODUCTS LIABILITY LITIGATION
 NO. II,

 This Document Relates To:                            MDL No. 1:22-md-03029-PBS

                   All Cases



                               CASE MANAGEMENT ORDER NO. __         8
                                  (Regarding Plaintiff Fact Sheets)

       This Court hereby issues the following Case Management Order to govern the form,

procedure, and schedule for the completion and service of Plaintiff Fact Sheets (“PFS”) and other

documents referenced therein.

I.     Scope of this Order

       This Order applies to all Plaintiffs and their counsel in all actions selected as Bellwether

Discovery Pool Cases pursuant to CMO No. 4, as well as any replacement cases, or any cases

selected in the future by further Order of the Court. The obligation to comply with this CMO and

to provide a PFS shall fall solely on the Plaintiff(s) in an individual case and the individual counsel

representing the Plaintiff(s). As with all case-specific discovery, Co-Lead Counsel and the

members of the PSC are not obligated to conduct case-specific discovery for Plaintiffs by whom

they have not been individually retained.

II.    Plaintiff Fact Sheets

       A.    The PFS Form and Service

              1.        Each Bellwether Plaintiff, whose case was selected on February 28, 2023

pursuant to CMO No. 4, shall complete and serve upon Defendants via email a completed PFS,

the form of which has been agreed to by the parties and approved by the Court, which is attached


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as Exhibit A. The responding Plaintiffs must answer the questions contained in the PFS to the best

of his or her ability, even if a Plaintiff can answer the questions in good faith only by indicating

“not applicable”; and comply with the provisions set forth in Sections II.A and II.B herein.

Specifically, every Bellwether Plaintiff shall:

                     a. Complete, verify, execute, and date a PFS;

                     b. Produce requested records and documents in response to the document

                         requests set forth in the PFS as maintained by Plaintiff and his/her counsel

                         (to the extent not subject to privilege and/or work-product protections and

                         not already produced in connection with the Bellwether Plaintiff’s service

                         of the Plaintiff Profile Form); and

                     c. To the extent not already provided with the Plaintiff Profile Form, produce

                         duly executed authorizations to obtain discoverable documents, as set

                         forth in Section III.A below.

              2.       In accordance with CMO No. 4, the PFS for the 6 Plaintiffs whose cases

have been selected as Bellwether Discovery Pool Cases shall be due on or before April 1, 2023.

For any cases selected as Bellwether Discovery Pool Cases after the date of this Order, the PFS

shall be served within 45 days of designation as a Bellwether Discovery Pool Case.

              3.       The completed PFS shall be served upon Defendants’ counsel via email at:

CovidienMeshMDL@us.dlapiper.com. A copy of the PFS shall be sent to the PSC’s designee at

covidienmdlpfs@fleming-law.com.

       B.    Verification & Amendments

              1.       Each completed PFS shall be verified, signed and dated by the Plaintiff as

if it were interrogatory responses under Fed. R. Civ. P. 33. All responses in a PFS or amendment




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thereto are binding on the individual Plaintiff as if they were contained in answers to

interrogatories under Fed. R. Civ. P. 33 and can be used for any purpose and in any manner that

answers to interrogatories can be used pursuant to the Federal Rules of Civil Procedure, subject to

the confidentiality provisions of Section IV below. The Requests for Production of Documents in

the PFS shall be treated as document requests under Fed. R. Civ. P. 34. The questions in the PFS

shall be answered without objection as to relevance or the form of the question.

               2.       Pursuant to Fed. R. Civ. P. 26(e), each Plaintiff shall remain under a

continuing duty to supplement the information provided in the PFS.

               3.       Any Plaintiff who undergoes revision surgery or other surgical procedure

related to the claims at issue in the case after completing and serving a PFS must complete and

serve an updated PFS (including providing any additional responsive documentation that is in

Plaintiff’s possession) within 60 days after the date of the surgery or 30 days after Plaintiff’s

counsel becomes aware of such surgery or procedure, whichever is later.

               4.       In any case where a deposition of the Plaintiff is scheduled, Plaintiff must

submit any supplement and/or amendments to the PFS, to the extent applicable and to the extent

the material is within the Plaintiff’s or his/her attorney’s possession, at least 7 days before the date

of Plaintiff’s deposition, notwithstanding the deadlines set forth above in II.B.3.

        C. PFS Deficiency Dispute Resolution

            1. Phase I: Deficiency Letter

               a.        If Defendants deem a PFS deficient, including for failure to serve a PFS

within the time required in this CMO, Defendants’ counsel shall notify Plaintiff’s attorney of

record of the purported deficiencies via email and allow such Plaintiff an additional 30 days to




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correct the alleged deficiency. A courtesy copy of the email shall be sent to the PSC’s designee at

covidienmdlpfs@fleming-law.com.

               b.        Defendants shall identify the case name, docket number, the 30-day

deadline date and include sufficient detail regarding the alleged deficiency(ies).

            2. Phase II: Meet and Confer

              Should a Plaintiff not respond to the deficiency letter within the time required, then

Defendants may request a meet and confer. Defendants’ counsel shall notify Plaintiff’s attorney of

record via email of the request to meet and confer and state that the meet and confer shall occur

within 14 days. A courtesy copy of the email shall be sent to the PSC’s designee at

covidienmdlpfs@fleming-law.com. The parties’ meet and confer period shall begin upon receipt

of the email by Plaintiff’s attorney of record and, absent agreement of the parties, shall be

completed by the conclusion of the 14 days.

            3. Phase III: Motion to Dismiss

                a.       Following the meet and confer period, should Plaintiff: (i) fail to cure the

stated deficiency(ies); (ii) fail to assert objections to same; (iii) fail to respond to or participate in

the meet and confer process; or (iv) otherwise fail to provide responses, and absent agreement of

the parties to further extend the meet and confer period, at any time following expiration of the 14

day meet and confer period, Defendants may then file a Motion to Dismiss for failure to serve a

sufficient PFS via ECF, with a courtesy copy sent via email to Plaintiff’s attorney of record and to

the PSC’s designee at covidienmdlpfs@fleming-law.com.

                b.       Any response to such a motion shall be filed and served within 14 days

following the date of service. Any reply, if necessary, shall be filed within 7 days following the

date of service of the opposition.




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               c.       Absent an Order from the Court granting a request by either or both parties

for oral argument, the Court will rule on such motions without hearing argument.

III.   Authorizations and Access to Medical Records through Medical Research
       Consultants (MRC)

       A.    Authorizations

            To the extent not already provided with the Plaintiff Profile Form, Bellwether

Discovery Pool Plaintiffs shall produce duly executed authorizations, which are collectively

attached as Exhibit B, to obtain discoverable documents for medical providers and facilities,

insurance records, psychiatric records (as relevant and explained below), workers’ compensation

(if the Plaintiff is claiming lost wages), disability records, and employment records (if the Plaintiff

is claiming lost wages). In the event an institution, agency, or medical providers to which a signed

authorization is presented refuses to provide responsive records, the individual Plaintiff's attorney

shall attempt to resolve the issue with the institution, agency, or medical provider. If the entity

still refuses, the requesting party is responsible for seeking appropriate relief from the Court. The

Parties agree that, if a Plaintiff does not date the Authorizations attached to the PFS and forwarded

to Defendants, then Defendants can date the Authorizations with the date the PFS was served via

email to Defendants. Leaving the date on Authorizations blank when forwarded to Defendants

shall not constitute a deficiency under this CMO.

            Individual plaintiffs’ counsel may, by agreement, allow Defendants to fill in any other

missing information to avoid a deficiency, including healthcare provider, patient name, social

security number, date of birth, or employer. In no event shall this consent be construed to allow

Defendants to fill in missing information that is not listed in the PPF or PFS unless Defendants

receive express written authorization from Plaintiff’s counsel in an individual case. Absent an




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agreement, not including information in the Authorization, other than the date as discussed above

will be addressed pursuant to Section C above.

            Should any healthcare provider from which Defendants seek records require a

proprietary or special authorization, Defendants shall forward same to Plaintiff’s counsel.

Plaintiff’s counsel will endeavor to use their best efforts to have Plaintiff execute said proprietary

or special authorization within 21 days of receiving a copy of the requested proprietary or special

authorization from Defendants.

       Bellwether Discovery Pool Plaintiffs who are not making a claim for psychiatric injury that

necessitated mental health treatment do not need to sign or return authorizations related to mental

health treatment records; provided, however, that Defendants reserve their right to request such

records from any Plaintiff if they have a good faith basis to believe such records should be

produced in that case. In such event, the Parties agree to meet and confer in good faith as to

whether such a production is appropriate. Signing an authorization for release of mental health

treatment records shall not constitute waiver of any claim of privilege or any other legal protection

for such records under applicable law. Any authorizations provided by Plaintiff become null and

void when his or her case is resolved, and any use of the authorizations beyond that date or for any

purpose other than this case is prohibited.

       B.    Access to Medical Records

       The parties have agreed that Defendants will provide Bellwether Discovery Pool Plaintiffs

with copies of the medical records obtained with authorizations provided along with the PPF or

PFS. Upon a written request by counsel for the Plaintiff(s) in a Bellwether Discovery Pool case,

Defendants will provide the records within 7 days, along with a bill from MRC for any pass

through costs associated with reproducing the records that MRC already obtained for Defendants.




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Plaintiff’s counsel will then remit payment to Defendants or MRC within 7 days of receipt of the

records.

IV.    Confidentiality

       All information disclosed in a PFS, the PFS itself, and all related documents (including

health care information) produced pursuant to the PFS or from the authorizations provided

therewith shall be deemed confidential and treated as “Confidential Information” under Case

Management Order No. 2.

V.     Depositions

       The PFS will not be interpreted to limit the scope of inquiry at depositions, nor will it affect

whether evidence is admissible at trial. The admissibility of information in the PFS is governed

by the Federal Rules of Evidence, and objections to admissibility are not waived by virtue of the

completion and service of a PFS.



               SO ORDERED.


                                                /s/M. Page Kelley

                                              M. Page Kelley
                                              Chief U.S. Magistrate Judge

                                              April 7, 2023




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        EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

                                           MDL No. 3029
                    In Re: Covidien Hernia Mesh Product Liability Litigation No. II
      ______________________________________________________________________________

                                      PLAINTIFF FACT SHEET

         For each case selected for the Bellwether Discovery Cases pursuant to Case Management Order
 No. 8, Plaintiff must complete this Plaintiff Fact Sheet (“PFS”).

        Please answer every question to the best of your knowledge. In completing this PFS, you are
under oath and must provide information that is true and correct to the best of your knowledge. If you
cannot recall all the details requested, please provide as much information as you can. You must
supplement your responses if you learn that they are incomplete or incorrect in any material respect. For
each question where the space provided does not allow for a complete answer, please attach additional
sheets so that all answers are complete.

       In each of the following sections, please provide information regarding the individual implanted
with one or more Covidien Hernia Mesh Device(s) that Plaintiff alleges caused injury. Any references
to “you” or “your” refers to that person. “Covidien Hernia Mesh Device” refers to the medical device(s)
about which you are making a claim.

I.         CASE INFORMATION

                 This PFS pertains to the following case:

                 Case Caption: _________________________________

                 Docket number: _______________________________

II.        PLAINTIFF INFORMATION

      A.     Covidien Hernia Mesh Device User Information.

             1. Full name of individual implanted with Covidien Hernia Mesh Device(s):
                _______________________________________________

             2. Other names, maiden name, nicknames, and aliases, if any, and the date(s) of such use:
                _________________________________________________________________

             3. Ethnicity: Caucasian (white) ____ Hispanic _____ Black ______

                        Native American ____    Asian ____ Other (please specify): _____

             4. Current address: __________________________________________________



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     5. How long have you been living at your current address: ____________________

     List all prior addresses from two years before your first surgery involving Covidien Hernia
     Mesh Device(s) to the present:

                                                                Dates You Lived
                      Prior Address                             At This Address




B.   Marital Status & Children.

     1. Are you currently married? Yes ___ No ___

        If yes, please provide your current spouse’s full name, home address, and occupation:
        __________________________________________________________________

     2. Have you ever been divorced or separated?       Yes ___    No ___

        If yes, please provide the name(s) of your former spouse(s) and the date you were
        divorced or separated:
        __________________________________________________________________

     3. Do you have children (biological or legally adopted)? Yes ___ No___

        If yes, for each of your children, please list his/her name, age, and current address:

               Name                      Age                    Current Address




C.   Education History.

     Beginning with high school and continuing through your highest level of education, identify
     each school, college, university and/or other educational institution you have attended, the
     dates of attendance, courses of study pursued, and diplomas or degrees awarded:


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          Name of School            City/State        Degree Awarded         Approx. Dates of
                                                       and/or Area of          Attendance
                                                        Study/Major




  D.    Employment History.

        1. Are you currently employed? Yes ____ No ____

           If yes, please provide the following information regarding your current employer:

                 a. Name of Employer: __________________________________________

                 b. Address: __________________________________________________

                 c. Dates of Employment: _______________________________________

                 d. Occupation/Job Duties: _______________________________________

        Provide the following information for each employer you have had from two years before
        your first surgery involving Covidien Hernia Mesh Device(s) to the present (other than your
        current employer). If you are including a claim for lost wages in this case, also list, for each
        position, salary and/or other compensation received. If you are not claiming lost wages or
        lost earning capacity, you are not required to provide your salary or rate of compensation.

Employer’s Name,
                        Dates of
   Supervisor,                           Occupation /        Reason for       Salary / Annual
                       Employment
Address, Telephone                          Title             Leaving          Gross Income
    Number




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     2. From 5 years before the date of your first Covidien hernia mesh implant to present, have
        you been out of work for more than 30 days for reasons related to your health?
        Yes _____ No _____

        If yes, please state the dates you were out of work, employer, and health condition:
        _________________________________________________________________

        _________________________________________________________________

     3. Have you ever left a job for a medical reason? Yes _____         No _____

        If yes, describe why you left:

     4. Have you filed a worker’s compensation, social security, and/or state or federal
        disability claim within the last 10 years? Yes ____   No ____

        If yes, for each claim please state:

              a.   Type of claim (for example, worker’s comp., disability): ____________
              b.   Year claim was filed: ________________________________________
              c.   The agency to whom you submitted your application: _______________
              d.   Court/State where claim was filed: ______________________________
              e.   Nature of claimed injury/disability: _____________________________

E.   Military Service.

     1. Have you ever served in any branch of the military? Yes _____       No _____

        If yes, provide branch and dates of service: _______________________________

     2. Were you discharged for any reason relating to your health (whether physical,
        psychiatric or other health condition)? Yes _____ No _____

        If yes, state the condition: ____________________________________________

     3. Have you ever been rejected from military service for any reason relating to your health
        (whether physical, psychiatric, or any other health condition)?
        Yes _____ No _____

        If yes, state the condition: __________________________________________




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G.   Insurance.

     Identify each insurance carrier (including government health care programs, such as
     Medicaid, Medicare, and Tricare), with whom you have had health insurance coverage from
     the time of your first surgery involving Covidien Hernia Mesh Device(s) to the present:


           Insurance Co.         Policy No.       Policy Holder       Approx. Dates
                                                                       of Coverage




H.   Lawsuits and Past Claims.

     1. From 10 years before the date of your first Covidien Hernia Mesh Device implant to
        present, have you been a party to an arbitration or civil lawsuit, other than this current
        action, related to any bodily injury?

        Yes _____ No _____

        If yes, for each such lawsuit or claim, state the parties, the court in which the lawsuit
        was filed, a brief description of the injury/claims asserted, and the outcome of the claim:
        __________________________________________________________________

        __________________________________________________________________

        __________________________________________________________________

        __________________________________________________________________




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IV.        ALLEGED INJURY AND DAMAGES

      A.     Alleged Injuries.

             1. To your knowledge, has any doctor attributed your physical and/or bodily injuries to the
                Covidien Hernia Mesh Device(s)? Yes____ No____

             2. Have you had discussions with any physician(s) or other healthcare provider(s) about
                whether your alleged injury or injuries are, or might be, related to the use of Covidien
                Hernia Mesh Device? If so, complete the following:

      Name & Address of               Date of              Name of Mesh             Nature of Statement
      Healthcare Provider            Discussion              Discussed




      B. Psychiatric or Psychological Injuries.

             1. Are you claiming in this case that you suffered psychiatric or psychological injury
                requiring medical treatment as a result of your use of the Covidien Hernia Mesh Device?
                Yes ____ No ____

                If yes, please describe: ______________________________________________

                If yes, please list any health care provider(s) from whom you have sought treatment for
                these alleged injuries, including their name and address:
                __________________________________________________________________

      C.     Medical Expenses.

             Please list any out-of-pocket costs you have incurred relating to your alleged injuries,
             including any physical, and/or psychological injury.

 Category and/or Types of Expenses Incurred               Approximate Amount of Out-of-Pocket Costs
        (e.g., co-pay, deductible, etc.)




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D.      Information Related to The Implant Surgery / Consent.

        1. At any time, did you receive any written information, including but not limited to
           instructions or warnings, about Covidien Hernia Mesh Device(s) and/or potential
           complications of your surgery?
           Yes _____ No _____

            If yes, please complete the following:

                 a. Information received: ________________________________________
                     __________________________________________________________
                 b. When information received: ___________________________________
                 c. From whom information received: _____________________________

        2. At any time, did you receive any information orally, including but not limited to
           instructions or warnings, about Covidien Hernia Mesh Device(s) and/or potential
           complications of your surgery?
           Yes _____ No _____

            If yes, please complete the following:

                 a. Information received: ________________________________________
                     __________________________________________________________
                 b. When information received: ___________________________________
                 c. From whom information received: _____________________________

     Please copy, complete and attach additional pages if necessary to provide a complete
     response.

E.      Prior Conditions.

        1. At this time, are you aware of any prior condition that the Covidien Hernia Mesh Device
           has worsened?
           Yes ____      No _____ I Don’t Know _______

        If yes, state the injury or condition, whether or not you believe you had already recovered
        from that injury or condition before your surgery with a Covidien Hernia Mesh Device, and
        the date of recovery, if any:
        __________________________________________________________________________
        __________________________________________________________________________




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            2. Over the past 15 years, have you experienced or been diagnosed or treated for any
               injuries, illnesses, or disabilities (whether physical or psychiatric*) other than those that
               you believe were caused by a Covidien Hernia Mesh Device (*If you are not claiming
               psychological injuries, you do not need to answer this question as it relates to prior
               psychiatric injuries and/or conditions):
                        Yes _____         No _____

               If yes, identify the injury, illness, medical condition, or disability not otherwise
               identified above, other than the common cold or flu, that Plaintiff has experienced in the
               last 15 years:


                                        Physician
                                                          Treating                        Current
Injury or     Date of     Date of       Who First                       Medication /
                                                         Healthcare                      Status of
Condition     Onset      Diagnosis      Diagnosed                       Treatment
                                                         Provider(s)                     Condition
                                        Condition




  F.        Fact Witnesses. Please identify all persons who you believe possess information
            concerning your injury and/or your current medical conditions and for each, state their
            name, address, telephone number, and a description of the information you believe they
            possess.

       Name: ____________________________________________________________
       Address: ________________________________________________________________
       City: _________________ State: ________ Zip:__________ Phone: ______________
       Relationship: ___________________________________________________________
       Information they possess: __________________________________________________
       _______________________________________________________________________


       Name: ____________________________________________________________
       Address: ________________________________________________________________
       City: _________________ State: ________ Zip:__________ Phone: ______________
       Relationship: ___________________________________________________________
       Information they possess: __________________________________________________
       _______________________________________________________________________


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          Name: ____________________________________________________________
          Address: ________________________________________________________________
          City: _________________ State: ________ Zip:__________ Phone: ______________
          Relationship: ___________________________________________________________
          Information they possess: __________________________________________________
          _______________________________________________________________________

          Please copy and complete and attach additional pages if necessary to provide a complete
          response.


V.        MEDICAL BACKGROUND

     A.      Medical History.

             1. Current Height: ______

             2. Current Weight: ______

             3. Please indicate how many pregnancies you have had, if applicable: ___________

             4. How many of those pregnancies were delivered via a Cesarean section: ________

     B.      Social History.

             1. Do you exercise?


                 Yes ___ No ___

                 If yes, please explain the type and frequency of exercise:

                 ________________________________________________________________


             2. Do you regularly engage in strenuous activity (i.e., lifting 20 lbs. or more) at work?


                 Yes ___ No ___

                 If yes, please explain the type and frequency of strenuous activity:

                 ________________________________________________________________




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      3. Alcohol Use. Please check and provide information for all that apply:
             a. Do you currently drink alcohol (beer, wine liquor)? Yes ____ No _____
                   If yes, how many drinks on average: ___ drinks per week

      4. Illicit Drugs. Have you ever used illicit drugs or controlled substances of any kind?
         Yes _____ No _____

                   If yes, which have you used and from what dates: _________________


5.    Prescription and Non-Prescription History.

      List all medications (such as prescription, non-prescription/OTC, vitamins) that you have
      taken regularly over the past 10 years. Note: “regularly” means, for example, 30
      consecutive days, or 75 cumulative days in the last 10 years:

                                                       Prescribing
                                                                            Reason for
                 Date First        Date Last           Healthcare
Medication                                                                 Prescription /
                  Taken             Taken              Provider(s)
                                                                                Use
                                                         (if any)




6.    Family Medical History.

      1. Has anyone in your immediate or extended family ever had a hernia:

         Yes __ No __

         If yes, please identify your relationship with the family member and describe the type of
         hernia (if known). ____________________________________________________




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VI.        YOUR HEALTHCARE PROVIDERS

      A.     Your current primary care physician(s) or healthcare provider(s):

             Name                                             Address




      B.     Your primary care physicians for the past 10 years:

             Name                                             Address




      C.     Each hospital, clinic, or healthcare facility where you have received inpatient treatment in
             the past 10 years that you have not already identified in the Plaintiff Profile Form:


                                                      Approximate
      Name                    Address                                      Reason for Admission
                                                         Dates




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D.      Each hospital, clinic, or healthcare facility or provider where you have received out-patient
        treatment (including emergency room treatment and outpatient surgery) in the past 10 years
        that you have not already identified in the Plaintiff Profile Form:

                                                 Approximate
 Name                    Address                                      Reason for Treatment
                                                    Dates




E.      Any and all surgeries, procedures, and hospitalizations that you have had in the past 10
        years that you have not already described above or in the Plaintiff Profile Form.


                                Reason for and                   Doctor Name and Address
Approximate Date
                            Description of Procedure           (including hospital or facility)




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G.      Each other physician or healthcare provider not already identified above from whom you
        have received treatment in the last 10 years, excluding physicians already identified in the
        Plaintiff Profile Form:

                                            Specialty & Reason for          Medication(s)
 Name                  Address
                                                    Consult                  Prescribed




H.      Each pharmacy, drugstore and/or other supplier (including mail order) where you have had
        prescriptions filled or from which you have ever received any prescription medication in the
        past 10 years:

     Name                        Address                       Medication(s) Prescribed




I.      Each health insurance carrier which provided you with medical coverage and/or pharmacy
        benefits for the last 10 years, with the named insured and named insured’s social security
        number.


     Carrier           Policy Number          Named Insured            Social Security No.




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VII.   DOCUMENT REQUESTS

       Please produce any and all documents in your possession or in the possession of your attorneys
       that are responsive to the following requests:

        1.     Copies of all medical records, bills, and any other documents from physicians, healthcare
               providers, hospitals, pharmacies, insurance companies, or others who have provided
               treatment to you in the past ten (10) years or that you otherwise identified in this PFS.

        2.     History and physical, informed consent, operative note, product identification sticker,
               and discharge summary from hospitalization where any hernia mesh, including any
               Covidien Hernia Mesh Device, was implanted.

        3.     History and physical, informed consent, operative note, and discharge summary from
               any removal or revision of any hernia mesh, including any Covidien Hernia Mesh
               Device.

        4.     History and physical, operative note, and discharge summary from any hospitalization(s)
               related to treatment for any alleged injury from any Covidien Hernia Mesh Device(s).

        5.     To the extent it has not been produced in response to the requests above, any other
               medical records related to treatment for any alleged injury from any Covidien Hernia
               Mesh Device(s).

        6.     If you have been the claimant or subject of any worker’s compensation, Social Security
               or other disability proceeding, all documents relating to such proceeding.

        7.     All documents in your possession which you believe were provided to you (not to your
               lawyer) by any Defendant.

        8.     All photographs, drawings, slides or videos from two years prior to the incident until the
               present relating to your use of a Covidien Hernia Mesh Device and/or the injuries you
               allege a Covidien Hernia Mesh Device caused.

        9.     All entries in journals, diaries, notes, letters, emails, or other documents written by you
               or received by you relating your use of a Covidien Hernia Mesh Device, and/or the
               injuries you allege a Covidien Hernia Mesh Device caused.

        10.    All documents (including electronic data) relating to any web sites you have viewed, chat
               rooms, web logs (or “blogs”), electronic mail, or other internet activity in which you have
               engaged related to your use of a Covidien Hernia Mesh Device and/or the injuries you
               allege a Covidien Hernia Mesh Device caused. Research conducted to understand the
               legal and strategic advice of your counsel is not considered responsive to this request.

        11.    All documents relating to any communication by you to or from the Food & Drug
               Administration (“FDA”), including but not limited to on-line, telephoned, mailed, or faxed



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      communications to the FDA’s MedWatch program, regarding Covidien Hernia Mesh
      Device(s), including the dates of such communications.

12.   If you claim you have suffered a loss of earnings or earning capacity, your federal tax
      returns for each of the last five (5) years.

13.   If you claim any loss from medical expenses, copies of all bills from any physician,
      hospital, pharmacy or other healthcare provider.




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                                            VERIFICATION

       I,_______________________, declare under penalty of perjury subject to 28 U.S.C. § 1746

that all of the information provided in this Plaintiff Fact Sheet is true, complete, and correct to the best

of my knowledge, information, and belief, and that I have supplied all the documents requested in Part

VII of this Plaintiff Fact Sheet, to the extent that such documents are in my possession or in the

possession of my lawyers, and that I have signed and supplied the authorizations attached to this

Verification.

       Further, I acknowledge that I have an obligation to supplement the above responses if I learn

that they are in any material respect incomplete or incorrect.


_______________                                        __________________________________
Date                                                   Signature of Plaintiff




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                             LOSS OF CONSORTIUM VERIFICATION

       I, __________________________, declare under penalty of perjury subject to 28 U.S.C. §

1746, that I have carefully reviewed the final copy of this Plaintiff Fact Sheet and verified that all of the

information provided is true and correct to the best of my knowledge, information and belief.

       Further, I acknowledge that I have an obligation to supplement the above responses if I learn

that they are in any material respect incomplete or incorrect.


_______________                                        __________________________________
Date                                                   Signature of Loss of Consortium Plaintiff




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         EXHIBIT B
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                                          AUTHORIZATION

For the Disclosure of Protected Health Information Pursuant to 45 CFR § 164.508(a)(1)

To:
        Name


        Address


        City, State and Zip Code


This document authorizes you to disclose to the named party or parties below upon request, the
medical records described below concerning ___________________________ , whose date of birth is
 ________________________ and whose social security number is ____________________ , for the
purpose of permitting defendants in my personal injury lawsuit against Covidien, LP, access to
medical records pertinent to that lawsuit. This authorization does not allow any person other than my
attorneys to discuss my medical care and treatment with you or anyone else.

You are hereby authorized to release my entire medical records file to the defendant or its authorized
representative listed below ("Record Requestor"). This release authorizes you to furnish copies of all
medical records, including but not limited to medical reports and notes, laboratory reports, pathology
slides, reports, notes, and specimens, radiographic films, CT scans, X-rays, MRI films, MRA films,
correspondence, progress notes, prescription records, echocardiographic recordings, written
statements, employment records, wage records, insurance, Medicaid, Medicare, and disability records,
and medical bills regarding my injuries, diseases, testing, or treatment, specifically but not limited to
HIV/AIDS or other communicable diseases, drug testing, drug or alcohol abuse treatment, or mental
or behavioral health or psychiatric care, excluding psychotherapy notes.

You may not condition treatment, payment, enrollment, or eligibility for benefits on whether this
authorization is signed.

I intend that this authorization shall be continuing in nature. If information responsive to this
authorization is created, learned or discovered at any time in the future, either by you or another party,
you must produce such information to the requestor at that time.

Further, I hereby agree that a photo static copy of this authorization may serve as an original.

You are authorized to release the above information to the following representative of defendants in
the above-entitled matter who has agreed to pay reasonable charges made by you to supply copies of
records.
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        MRC
        Name of Representative

        Records Requestor
        Representative Capacity (e.g. attorney, records requestor, agent, etc.)

        10550 Richmond Avenue, Suite 310
        Street Address

        Houston, Texas 77042 _____________________________
        City, State and Zip Code

This authorization may be revoked by writing to the individual to whom this authorization is provided.
However, I understand that any actions already taken in reliance on this authorization cannot be
reversed, and any revocation will not affect those actions. I also understand that provision of this signed
authorization is required by Order of the Court in the litigation to which this authorization pertains, and
that such revocation, without good cause, may consequently lead to sanctions.

I further acknowledge the potential for information disclosed pursuant to this authorization to be
subject to redisclosure by a recipient and not protected under the Health Insurance Portability and
Accountability Act of 1996 ("HIPAA").

This authorization expires two years from the date below.

Date:
                                                       Signature or Patient (or Patient's
                                                       Representative)


                                                       Description of Representative's
                                                       Authority to Act for Patient, if
                                                       Applicable
Department of HealthCase
                     and Human   Services
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Centers for Medicare & Medicaid Services                                                           OMB No. 0938-0930




             1-800-MEDICARE Authorization to Disclose Personal Health Information
     Use this form if you want 1-800-MEDICARE to give your personal health information to someone
     other than you.




1. Print Name                                           Medicare Number                           Date of Birth
    (First and last name of the person with Medicare)   (Exactly as shown on the Medicare Card)   (mm/dd/yyyy)




2. Medicare will only disclose the personal health information you want disclosed.

       2A: Check only one box below to tell Medicare the specific personal health information you
       want disclosed:

               Limited Information (go to question 2b)

               Any Information (go to question 3)


       2B: Complete only if you selected “limited information”. Check all that apply:

               Information about your Medicare eligibility

               Information about your Medicare claims

               Information about plan enrollment (e.g. drug or MA Plan)

               Information about premium payments

               Other Specific Information (please write below; for example, payment information)



      2C: NY Residents Only, this section must be completed.
      Please select one of the following options: (Please check only one box.)
               Include all information. This includes information about alcohol and drug abuse, mental
               health treatment, and HIV.

               OR

               Exclude information about alcohol and drug abuse, mental health treatment, and HIV.

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Department of HealthCase
                     and Human   Services
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3. Check only one box below indicating how long Medicare can use this authorization to disclose
   your personal health information (subject to applicable law—for example, your State may limit
   how long Medicare may give out your personal health information):

          Disclose my personal health information indefinitely


           Disclose my personal health information for a specified period only

      beginning:                                (mm/dd/yyyy) and ending:                   (mm/dd/yyyy)


4. Fill in the name and address of the person or organization to whom you want Medicare to
   disclose your personal health information. Please provide the specific name of the person for
   any organization you list below. If you would like to authorize any additional individuals or
   organizations, please add those to the back of this form.
      ame

     Address

     Name

     Address




Form CMS-10106 (Rev 0 /15)
Department of HealthCase
                     and Human   Services
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Centers for Medicare & Medicaid Services                                                       OMB No. 0938-0930


Note: You have the right to take back (“revoke”) your authorization at any time, in writing, except
to the extent that Medicare has already acted based on your permission. To revoke authorization,
send a written request to the address noted below. Your authorization or refusal to authorize disclosure
of your personal health information will have no effect on your enrollment, eligibility for benefits, or the
amount Medicare pays for the health services you receive.

 5.
      I authorize 1-800-MEDICARE to disclose my personal health information listed above to
      the person(s) or organization(s) I have named on this form. I understand that my
      personal health information may be re-disclosed by the person(s) or organization(s) and
      may no longer be protected by law.



        Signature                                 Telephone Number              Date (mm/dd/yyyy)

         Print the address of the person with Medicare (Street Address, City, State, and ZIP)




            Check here if you are signing as a personal representative and complete below.
            Please attach the appropriate documentation (for example, Power of Attorney). This only
            applies if someone other than the person with Medicare signed above.
            Print the Personal Representative's Address (Street Address, City, State, and ZIP)




        Telephone Number of Personal Representative:

        Personal Representative's Relationship to the Beneficiary:




Form CMS-10106 (Rev 0 /15)
Department of HealthCase
                     and Human   Services
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 6. Send the completed, signed authorization to:

                                  Medicare BCC, Written Authorization Dept.
                                               PO Box 1270
                                            Lawrence, KS 66044



                                                    PrintForm




Note: You have the right to take back (“revoke”) your authorization at any time, in writing, except to the
extent that Medicare has already acted based on your permission. If you would like to revoke
authorization, send a written request to the address noted above.

Your authorization or refusal to authorize disclosure of your personal health information will have no
effect on your enrollment, eligibility for benefits, or the amount Medicare pays for the health services
you receive.




According to the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of
information unless it displays a valid OMB control number. The valid OMB control number for this
information collection is 0938-0930. The time required to complete this information collection is
estimated to average 15 minutes per response, including the time to review instructions, search existing
data resources, gather the data needed, and complete and review the information collection. If you have
comments concerning the accuracy of the time estimate(s) or suggestions for improving this form, please
write to: CMS, 7500 Security Boulevard, Attn: PRA Reports Clearance Officer, Mail Stop C4-26-05,
Baltimore, Maryland 21244-1850.


Form CMS-10106 (Rev     /15)
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                                         AUTHORIZATION

       For the Disclosure of Protected Health Information Pursuant to 45 CFR § 164.508(a)(2)


To:    ________________________
       Name

       __________________________
       Address

       __________________________
       City, State and Zip Code


This document authorizes you to disclose to the named party or parties below upon request, the
psychotherapy notes described below concerning ______________________ , whose date of birth is
_________________________ and whose social security number is ___________________ , for the
purpose of permitting defendants in my personal injury lawsuit against Covidien, LP, access to
medical records pertinent to that lawsuit. This authorization does not allow any person other than
my attorneys to discuss my medical care and treatment with you or anyone else.

You are hereby authorized to release my entire medical records file to the defendant or its
authorized representative listed below ("Record Requestor"). This release authorizes you to furnish
copies of all records pertaining to mental or behavioral health or psychiatric care, including
“psychotherapy notes,” as such term is defined by the Health Insurance Portability and
Accountability Act, 45 CFR §164.501 (“HIPAA”). Under HIPAA, the term “psychotherapy notes”
means notes recorded (in any medium) by a health care provider who is a mental health
professional documenting or analyzing the contents of conversations during a private counseling
session or a group, joint or family counseling session and that are separated from the rest of the
individual’s record. This authorization does not authorize ex parte communication concerning
same.

You may not condition treatment, payment, enrollment, or eligibility for benefits on whether this
authorization is signed.

I intend that this authorization shall be continuing in nature. If information responsive to this
authorization is created, learned or discovered at any time in the future, either by you or another
party, you must produce such information to the requestor at that time.

Further, I hereby agree that a photo static copy of this authorization may serve as an original.

You are authorized to release the above information to the following representative of defendants
in the above-entitled matter who has agreed to pay reasonable charges made by you to supply
copies of records.
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        MRC
        Name of Representative

        Records Requestor
        Representative Capacity (e.g. attorney, records requestor, agent, etc.)

        10550 Richmond Avenue, Suite 310
        Street Address

        Houston, Texas 77042 ____________________________
        City, State and Zip Code

This authorization may be revoked by writing to the individual to whom this authorization is
provided. However, I understand that any actions already taken in reliance on this authorization
cannot be reversed, and any revocation will not affect those actions. I also understand that provision
of this signed authorization is required by Order of the Court in the litigation to which this
authorization pertains, and that such revocation, without good cause, may consequently lead to
sanctions.

I further acknowledge the potential for information disclosed pursuant to this authorization to be
subject to redisclosure by a recipient and not protected under the Health Insurance Portability and
Accountability Act of 1996 ("HIPAA").

This authorization expires two years from the date below.

Date:______________________                         ____________________________
                                                     Signature or Patient (or
                                                     Patient's Representative)


                                                      ________________________
                                                      __
                                                      Description of
                                                      Representative's Authority to
                                                      Act for Patient, if Applicable
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                                         AUTHORIZATION

       For the Disclosure of Protected Health Information Pursuant to 45 CFR § 164.508(a)(1)

To:
       Name


       Address


       City, State and Zip Code


This document authorizes you to disclose to the named party or parties below upon request, the
records described below concerning __________________________________ , whose date of birth is
_________________________ and whose social security number is ___________________ , for the
purpose of permitting defendants in my personal injury lawsuit against Covidien, LP, access to
medical records pertinent to that lawsuit. This authorization does not allow any person other than
my attorneys to discuss my medical care and treatment with you or anyone else.

You are hereby authorized to release my entire workers’ compensation file, including, but not
limited to, statements, applications, disclosures, correspondence, notes, settlements, agreements,
contracts or other documents, to the defendant or its authorized representative listed below
("Record Requestor"). This release authorizes you to furnish copies of all workers’ compensation
records.

You may not condition treatment, payment, enrollment, or eligibility for benefits on whether this
authorization is signed.

I intend that this authorization shall be continuing in nature. If information responsive to this
authorization is created, learned or discovered at any time in the future, either by you or another
party, you must produce such information to the requestor at that time.

Further, I hereby agree that a photo static copy of this authorization may serve as an original.

You are authorized to release the above information to the following representative of defendants
in the above-entitled matter who has agreed to pay reasonable charges made by you to supply
copies of records.
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        MRC
        Name of Representative

        Records Requestor
        Representative Capacity (e.g. attorney, records requestor, agent, etc.)

        10550 Richmond Avenue, Suite 310
        Street Address

        Houston, Texas 77042 _____________________________
        City, State and Zip Code

This authorization may be revoked by writing to the individual to whom this authorization is provided.
However, I understand that any actions already taken in reliance on this authorization cannot be
reversed, and any revocation will not affect those actions. I also understand that provision of this signed
authorization is required by Order of the Court in the litigation to which this authorization pertains, and
that such revocation, without good cause, may consequently lead to sanctions.

I further acknowledge the potential for information disclosed pursuant to this authorization to be
subject to redisclosure by a recipient and not protected under the Health Insurance Portability and
Accountability Act of 1996 ("HIPAA").

This authorization expires two years from the date below.

Date:
                                                       Signature or Patient (or Patient's
                                                       Representative)


                                                       Description of Representative's
                                                       Authority to Act for Patient, if
                                                       Applicable
